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     TETRA TECH, INC.
15

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17                              UNITED STATES DISTRICT COURT

18         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

19

20   KEVIN ABBEY, et al.                      STIPULATION AND [PROPOSED]
                                              ORDER FOR STAY FOLLOWING
21                Plaintiffs,                 SETTLEMENT IN PRINCIPLE

22         v.                                 Case No. 3:19-cv-07510-JD

23   TETRA TECH EC, INC. and TETRA TECH,
     INC.
24

25                Defendants.

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 1   UNITED STATES OF AMERICA, ex rel.
     JAHR, et al.
 2                                           Case No. 3:13-cv-03835-JD
                 Plaintiffs,
 3
           v.
 4
     TETRA TECH EC, INC., et al.
 5
                 Defendants.
 6

 7
     LINDA PARKER PENNINGTON, et al.
 8
                 Plaintiffs,                 Case No. 3:18-cv-05330-JD
 9
           v.
10
     TETRA TECH EC, INC., et al.
11
                 Defendants.
12
     BAYVIEW HUNTERS POINT
13   RESIDENTS, et al.
                                             Case No. 3:19-cv-01417-JD
14               Plaintiffs,
15         v.
16   TETRA TECH EC, INC., et al.
17               Defendants.
18   CPHP DEVELOPMENT, LP, et al.
19               Plaintiffs,                 Case No. 3:20-cv-01485-JD
20         v.
21   TETRA TECH EC, INC., et al.
22               Defendants.
23
     FIVE POINT HOLDINGS, LLC, et al.
24                                           Case No. 3:20-cv-01481-JD
                 Plaintiffs,
25
           v.
26
     TETRA TECH EC, INC., et al.
27
                 Defendants.
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 1           Counsel for Plaintiffs Kevin Abbey, et al. (“Plaintiffs”) and Defendants Tetra Tech EC,

 2   Inc. and Tetra Tech, Inc., (“Tetra Tech”) (together, the “Parties”), by and through their respective

 3   counsel of record, submit this Stipulation and [Proposed] Order for Fact and Expert Discovery

 4   Stay Following Settlement In Principle, and request that the Court enter the attached [Proposed]

 5   Order in the above-captioned cases. Counsel for the Parties have met and conferred regarding

 6   this stipulation.

 7               A. Background

 8           Plaintiffs and Tetra Tech have reached a settlement in principle of all claims in Plaintiffs’

 9   First Amended Complaint [ECF No. 40] against Tetra Tech. The settlement is contingent on
10   receiving individualized consent from plaintiffs (there are no class claims). The Parties are also
11   preparing settlement documentation, and Plaintiffs intend to file a Joint Stipulation of Dismissal
12   for the claims as soon as conditions precedent are met. The Parties seek to reduce the continuing
13   burden of fact and expert discovery on the Parties and witnesses while the settlement is finalized.
14               B. Partial Stay of Fact and Expert Discovery; Withdrawal of Pending Letter

15                   Briefs

16               1. Plaintiffs and Tetra Tech agree not to serve, conduct, or participate in any further

17                   discovery related solely to Kevin Abbey, et al., v. Tetra Tech EC, Inc., et al., Case

18                   No. 3:19-cv-07510-JD (the “Abbey case”).

19               2. The deadlines for responses to any pending Requests for Admission or

20                   Interrogatories from Tetra Tech to Plaintiffs, or Plaintiffs to Tetra Tech, are

21                   stayed.

22               3. To avoid the burden of unnecessary deposition testimony any deposition notices

23                   issued by Plaintiffs will be withdrawn and counsel for Abbey will not proceed with

24                   deposition topics 20-25 in the Second Amended 30(b)(6) Notice of Tetra Tech, Inc.

25                   served on December 9, 2024 by “Side 1” (or in any subsequently amended notice),

26                   as those topics were included in that notice at the Abbey Plaintiffs’ request.

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 1         4. The Parties agree to withdraw all pending discovery letter briefs filed against the

 2            other Party. To the extent the Abbey Plaintiffs have joined omnibus letter briefs

 3            filed by other parties in related litigation they withdraw from those briefs. This

 4            includes:

 5                •       The April 15, 2024 letter brief regarding Abbey joining in the United
 6                        States’ motion to continue the deposition of Tina Rolfe [Dkt. 386 in

 7                        Case 3:13-cv-03835]

 8                •       The July 8, 2024 letter brief regarding the production of clawed back
 9                        documents [Dkt. 183 in Case 3:20-cv-01481]
10                •       The October 23, 2024 letter brief regarding deposition limits [Dkt. 271
11                        in Case 3:20-cv-01485]
12                •       The December 5, 2024 joint request for status conference [Dkt. 215 in
13                        Case 3:20-cv-01481]
14         5. All expert and dispositive motion deadlines in the Abbey case are suspended
15            pending the lodging and/or filing of the settlement documents. As are all
16            deadlines contained in the Parties’ July 23, 2024 Joint Stipulation Regarding
17            Bellwether Discovery (Dkt. 261).
18         6. In the event the Parties are not able to execute their settlement by January 31,
19            2025, Plaintiffs are permitted to notice and take the deposition on the 30(b)(6)
20            topics referenced above in paragraph 3, as well as ten or fewer 30(b)(6) topics to
21            the City of San Francisco.
22         7. In the event the Parties are not able to execute their settlement by January 31,
23            2025, Tetra Tech and Plaintiffs will meet and confer to either (1) propose an
24            additional extension of time for the Parties to lodge and/or file settlement
25            documents; or (2) propose a new discovery schedule and discovery order to the
26            Court to promptly resume discovery and advance the Abbey case towards trial.
27            Plaintiffs and Tetra Tech agree that the new schedule will propose at least a two-
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 1                   month extension of fact discovery, expert discovery, and dispositive motion

 2                   deadlines in the Abbey case.

 3               C. Further Amendment

 4            Except as otherwise provided in this Stipulation, its terms may be amended only by

 5   written stipulation of the Parties approved by the Court, or by order of the Court for good cause

 6   shown.

 7            IT IS SO STIPULATED, through Counsel of Record.

 8    Dated: December 12, 2024                      WILMER CUTLER PICKERING, HALE AND
                                                    DORR LLP
 9
                                                    By:   /s/ Christopher A. Rheinheimer
10
                                                           DAVINA PUJARI
11                                                         CHRISTOPHER CASAMASSIMA
                                                           CHRISTOPHER A. RHEINHEIMER
12
                                                    Attorneys for Defendants Tetra Tech EC, Inc. and
13                                                  Tetra Tech, Inc.

14
      Dated: December 11, 2024                      WALKUP, MELODIA, KELLY &
15                                                  SCHOENBERGER
16

17                                                  By:   /s/ Sara M. Peters
                                                           KHALDOUN A. BAGHADI
18                                                         SARA M. PETERS
                                                           JADE SMITH-WILLIAMS
19
                                                           Attorneys for PLAINTIFFS
20

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10                                           ATTESTATION
11          Pursuant to Local Rule 5-1(i)(3), I, Christopher A. Rheinheimer, attest that all other
12   signatures listed, and on whose behalf the filing is submitted, concur in the filing’s contents and
13   have authorized the filing.
14

15                                                 /s/ Christopher A. Rheinheimer
                                                   Christopher A. Rheinheimer (SBN 253890)
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 1                                        [PROPOSED] ORDER

 2          Pursuant to the stipulation of the Parties, discovery is stayed in the above-captioned

 3   matter as follows:

 4              1. Plaintiffs and Tetra Tech agree not to serve, conduct, or participate in any further

 5                  discovery related solely to the Abbey case.

 6              2. The deadlines for responses to any pending Requests for Admission or

 7                  Interrogatories from Tetra Tech to Plaintiffs, or Plaintiffs to Tetra Tech, are

 8                  stayed.

 9              3. To avoid the burden of unnecessary deposition testimony any deposition notices
10                  issued by Plaintiffs will be withdrawn and counsel for Abbey will not proceed with
11                  deposition topics 20-25 in the Second Amended 30(b)(6) Notice of Tetra Tech, Inc.
12                  served on December 9, 2024 by “Side 1” (or in any subsequently amended notice),
13                  as those topics were included in that notice at the Abbey Plaintiffs’ request.
14              4. The Parties agree to withdraw all pending discovery letter briefs filed against the
15                  other Party. To the extent the Abbey Plaintiffs have joined omnibus letter briefs
16                  filed by other parties in related litigation they withdraw from those briefs. This
17                  includes:
18                        •     The April 15, 2024 letter brief regarding Abbey joining in the United
19                              States’ motion to continue the deposition of Tina Rolfe [Dkt. 386 in
20                              Case 3:13-cv-03835]
21                        •     The July 8, 2024 letter brief regarding the production of clawed back
22                              documents [Dkt. 183 in Case 3:20-cv-01481]
23                        •     The October 23, 2024 letter brief regarding deposition limits [Dkt. 271
24                              in Case 3:20-cv-01485]
25                        •     The December 5, 2024 joint request for status conference [Dkt. 215 in
26                              Case 3:20-cv-01481]
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 1            5. All expert and dispositive motion deadlines in the Abbey case are suspended

 2               pending the lodging and/or filing of the settlement documents. As are all

 3               deadlines contained in the Parties’ July 23, 2024 Joint Stipulation Regarding

 4               Bellwether Discovery (Dkt. 261).

 5            6. In the event the Parties are not able to execute their settlement by January 31,

 6               2025, Plaintiffs are permitted to notice and take the deposition on the 30(b)(6)

 7               topics referenced above in paragraph 3, as well as ten or fewer 30(b)(6) topics to

 8               the City of San Francisco.

 9            7. In the event the Parties are not able to execute their settlement by January 31,
10               2025, Tetra Tech and Plaintiffs will meet and confer to either (1) propose an
11               additional extension of time for the Parties to lodge and/or file settlement
12               documents; or (2) propose a new discovery schedule and discovery order to the
13               Court to promptly resume discovery and advance the Abbey case towards trial.
14               Plaintiffs and Tetra Tech agree that the new schedule will propose at least a two-
15               month extension of fact discovery, expert discovery, and dispositive motion
16               deadlines in the Abbey case.
17

18   IT IS SO ORDERED.
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20   DATED:                        , 2024
                                                      Honorable James Donato
21                                                    United States District Court Judge
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       STIPULATION AND [PROPOSED] ORDER FOR STAY FOLLOWING SETTLEMENT IN PRINCIPLE
